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May 30. 2019
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VIA ECF AND FIRST CLASS MAIL . A. Lf}

The Honorable Paul A. Crotty Ths peepee t vo " fo

United States District Court for the

Southern District of New York
United States District Courthouse [Mar Wey,
500 Pearl Street, Chambers 1350 oi

New York. NY 10007

RE: Federal insurance Company, et al. v. Harvey Weinstein
Civil Action No. 1:18-cv-02526 (RWLx)

Dear Judge Crotty:

‘This firm is insurance recovery counsel to Harvey Weinstein, Pursuant to Your Honor’s
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individual Practice Rule No. 1, the partigs jointly request that the Court's April 29, 2019

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Scheduling Order (Dkt. No. 133) be held in abeyance until the dune 25, 2019 Status Conte

 

 

There have been no prior requests for an adjournment of this schedule.

As has been widely reported, an agreement in principle has been reached on the
economic terms of a settlement among the parties to this action, various plaintiffs and defendants
in the underlying litigation, and certain others. If memorialized and approved, the settlement
will result in the discontinuance of all three related insurance coverage matters pending before
this Court without the need for further discovery or motion practice. Thus, the parties jointly

request that the deadlines by which the parties were directed to conduct Further discovery

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